968 F.2d 1
    Allen D. HEFLIN, and wife Jean LaRue Heflin, and Rue EllenHeflin, next of kin and survivors of Hugh AllenHeflin, deceased, Plaintiffs-Appellees,v.STEWART COUNTY, TENNESSEE, David Hicks, Joe Henry Crutcher,and Wanda Luffman, Defendants-Appellants.
    No. 90-6585.
    United States Court of Appeals,Sixth Circuit.
    July 1, 1992.
    
      Before KENNEDY and BOGGS, Circuit Judges, and LIVELY, Senior Circuit Judge.
    
    ORDER
    
      1
      The appellants filed a petition for rehearing with the suggestion for rehearing en banc.   The required number of judges did not vote in favor of rehearing en banc and accordingly the petition was referred to the original hearing panel.   This panel denied the petition for rehearing in an order filed June 3, 1992.
    
    
      2
      Upon reconsideration, the panel grants the petition for rehearing to the limited extent of noting that the individual defendants David Hicks, Harry Joe Crutcher and Wanda Luffman were sued only in their official capacities.   The judgment entered by the district court awarded damages against the defendant Stewart County and the individual defendants jointly and severally.   This court reversed the judgment against the defendant Wanda Luffman and affirmed the judgment against Stewart County, David Hicks and Harry Joe Crutcher, 958 F.2d 709.   Because David Hicks and Harry Joe Crutcher were sued only in their official capacities, any judgment against them becomes a judgment against the county.   Thus, only the defendant Stewart County may be held liable for the payment of the jury award.
    
    
      3
      Circuit Judge KENNEDY would grant rehearing for the reasons stated in her dissent.
    
    
      4
      Entered by order of the court.
    
    